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statutory extensions of time for commencing any such proceedings and taking any other actions as
provided for in section 108 of the Bankruptcy Code.

       10.03 Exemption from Tax. Issuance of promissory notes to holders of allowed Class 4
Claims will not be taxed, by virtue of Section l 146(a) of the Bankruptcy Code.

       10.04 Exhibit. A sample Class 4 Promissory Note is attached as an exhibit to the plan.




                                     DALE M. WILLIAMS, INC., Debtor and Plan Proponent



                                    Dale M. Williams, President



                                    Isl Peter N. Hill
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                             CERTIFICATE OF SERVICE

       I hereby certify that on December 20, 2017, I electronically filed the foregoing with
the Clerk of the Court by using the CM/ECF system.

                                    Isl Peter N. Hill
                                    Peter N. Hill




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